
705 S.E.2d 361 (2010)
Katherine M. McCRAW and Gregory B. McCraw, William H. Breymaier and Delores J. Breymaier, Michael Marcel Fenneteau, Ellis R. Gregory and Sharon K. Gregory, Dennis G. Ursprung and Jonene B. Ursprung, Kirkman E. Hodges and Julia C. Hodges, Esley Daniel Owens and Beth Payne Owens, Michael A. Parker and Debra J. Parker, Donald Keith Benjamin and Emily Suzanne Benjamin, Thomas H. Pearman and Sandra Pearman, Craig Doehner and Sharon Doehner, Henrik B. Rasmussen II and Delia M. Rasmussen, Patrick J. Dougherty and Julie R. Dougherty, Daniel G. Dupont and Sandra T. Dupont, David L. Randall and Debra S. Randall, Steven Jarvis and Elizabeth Jarvis, Todd L. Juracek and Carol M. Juracek, William Lawton Fortune III and Jeanette Anne Fortune, Robert F. Kern and Michelle I. Kern, Timothy C. Rogers and Tania F. Rogers
v.
George W. AUX, Jr., Individually, and George W. Aux, Jr. Trust Dated November 8, 2006.
No. 358P10.
Supreme Court of North Carolina.
December 15, 2010.
James K. Pendergrass, Jr., Raleigh, for Aux, George W. (Jr.), et al.
Brian S. Edlin, Raleigh, for McCraw, Katherine M., et al.

ORDER
Upon consideration of the conditional petition filed on the 30th of August 2010 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as Moot by order of the Court in conference, this the 15th of December 2010."
